                                            June 1, 2021


VIA ECF
Hon. Analisa Torres
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007
Torres_NYSDChambers@nysd.uscourts.gov

                                      Re:   Floyd v. City of New York, 08 Civ. 1034 (AT)
                                            Davis v. City of New York, 10 Civ. 0699 (AT)
                                            Ligon v. City of New York, 12 Civ. 2274 (AT)

Dear Judge Torres:

       We write on behalf of Plaintiffs in the above-entitled actions currently pending before
Your Honor. Earlier today, the Court-appointed Monitor in these three cases filed a letter in
opposition to Floyd, Davis, and Ligon Plaintiffs’ joint March 25, 2021 motion to compel him to
provide Plaintiffs with access to certain information addressed to the Court (Floyd ECF No. 824;
Davis ECF No. 561; Ligon ECF No. 466). See Floyd ECF No. 836. Accordingly, Floyd, Davis
and Ligon Plaintiffs now write to notify the Court of our intention to file a reply in further
support of our March 25 motion to compel within 7 days, by no later than June 8, 2021, as
provided for under S.D.N.Y. Local Civil Rule 6.1 (b).

       Thank you for your time and consideration.

                                            Respectfully submitted,


                                            \s\ Darius Charney
                                            Darius Charney
                                            Counsel for Floyd Plaintiffs


                                            \s\ Jenn Rolnick Borchetta
                                            Jenn Rolnick Borchetta
                                            Counsel for Ligon Plaintiffs




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\s\ Jin Hee Lee
Jin Hee Lee

Counsel for Davis Plaintiffs




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